






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00262-CV







In re Charles Flentroy







ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N




Charles Flentroy has petitioned this Court for a writ of mandamus to compel the
district court to act on his motion for a judgment nunc pro tunc in local cause number 3013664. 
Flentroy seeks to have a deadly weapon finding removed from the judgment.  Flentroy's challenge
to this finding was rejected on direct appeal.  See Flentroy v. State, No. 03-02-00624-CR (Tex.
App.--Austin Aug. 25, 2005, no pet.) (opinion on remand).  The petition for writ of mandamus is
denied.  See Tex. R. App. P. 52.8(a).


				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Henson

Filed:   August 13, 2007


